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                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


Global Health Council, et at.,

               Plaintiffs-Appellees,

                   v.                          Case No. 25-5097

Donald J. Trump, et al.,

              Defendants-Appellants.


                CERTIFICATE AS TO PARTIES, RULINGS,
                        AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies as

follows:

      A.    Parties and Amici

      Appellants: Donald J. Trump; the Secretary of State; the Acting Administrator

of the U.S. Agency for International Development; the Acting Deputy Administrator

for Policy and Planning of the U.S. Agency for International Development; the

Acting Deputy Administrator for Management and Resources of the U.S. Agency

for International Development; the Director of Foreign Assistance for the U.S.

Department of State; the Director of the Office of Management and Budget; the U.S.

Department of State; the U.S. Agency for International Development; and the Office

of Management and Budget.



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      Appellees: Global Health Council; Small Business Association for

International Companies; HIAS; Management Sciences for Health, Inc.; Chemonics

International, Inc.; DAI Global LLC; Democracy International, Inc.; and American

Bar Association.

      Amici Curiae: The Constitutional Accountability Center was amicus in district

court. There are no amici in this Court as of this filing.

      B.     Rulings Under Review

      The ruling under review was entered in Global Health Council v. Trump, No.

25-cv-402 (D.D.C.), by the Honorable Amir H. Ali. It is Memorandum Opinion and

Order entered on March 10, 2025, at Docket Number 60 granting in part plaintiffs’

motions for a preliminary injunction. See Global Health Council v. Trump, 2025 WL

752378 (D.D.C. Mar. 10, 2025).

      C.     Related Cases

      The government previously took an appeal from this district court case. That

appeal was consolidated with another appeal from a different district court case,

AIDS Vaccine Advocacy Coalition v. U.S. Department of State, No. 25-cv-400

(D.D.C.). Both appeals were dismissed by this Court. See Order, AIDS Vaccine

Advocacy Coal. v. U.S. Dep’t of State, Nos. 25-5046, 25-5047 (D.C. Cir. Feb. 26,

2025). The government then sought emergency relief in the Supreme Court. See

Department of State v. AIDS Vaccine Advocacy Coal., No. 24A831 (U.S.). With the



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exception of those appeals, these cases have not been in any court other than the

district court from which they originated.

      This Court has once again consolidated this appeal with the government’s

appeal in AIDS Vaccine Advocacy Coalition v. U.S. Department of State, No. 25-

5098 (D.C. Cir.).

      The undersigned counsel is unaware of any related cases currently pending in

this Court or any other court.


Dated: May 6, 2025                           Respectfully submitted,

                                              /s/ William C. Perdue
                                             William C. Perdue
                                             ARNOLD & PORTER
                                               KAYE SCHOLER LLP
                                             601 Massachusetts Ave., NW
                                             Washington, DC 20001
                                             T: (202) 942-5000
                                             F: (202) 942-5999
                                             William.Perdue@arnoldporter.com

                                             Counsel for Appellees




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                UNITED STATES COURT OF APPEALS
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                    v.                         Case No. 25-5097

Donald J. Trump, et al.,

               Defendants-Appellants.


                   RULE 26.1 DISCLOSURE STATEMENT

      The undersigned counsel of record for Appellees Global Health Council;

Small Business Association for International Companies; HIAS; Management

Sciences for Health; Chemonics International, Inc.; DAI Global, LLC; Democracy

International, Inc.; and American Bar Association, certifies that to the best of my

knowledge and belief, none the aforementioned Appellees have parent companies,

subsidiaries, or affiliates which have any outstanding securities in the hands of the

public.




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Dated: May 6, 2025                    Respectfully submitted,

                                       /s/ William C. Perdue
                                      William C. Perdue
                                      ARNOLD & PORTER
                                        KAYE SCHOLER LLP
                                      601 Massachusetts Ave., NW
                                      Washington, DC 20001
                                      T: (202) 942-5000
                                      F: (202) 942-5999
                                      William.Perdue@arnoldporter.com

                                      Counsel for Appellees




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                       CERTIFICATE OF SERVICE

     I hereby certify that on March 20, 2025, I caused the foregoing document to

be electronically filed using the appellate CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.



Dated: May 6, 2025                         s/ William C. Perdue
                                           William C. Perdue




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